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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                            BILLINGS DIVISION


 UNITED STATES OF AMERICA,                   CR 20-99-BLG-SPW


                        Plaintiff,
                                             ORDER
          vs.



 JAMEL AKEEM SCOTT,

                        Defendant.




      Upon the United States' Unopposed Motion to Dismiss Indictment Without

Prejudice(Doc. 22), and for good cause appearing,

      IT IS HEREBY ORDERED that the indictment is DISMISSED


WITHOUT PREJUDICE.


      IT IS FURTHER ORDERED that the trial presently set for February 16,

2021 is VACATED.


      FURTHER,the United States Marshals Service shall return the defendant to

the custody ofthe State of Montana.

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